     Case 2:18-cv-04315-DSF-JPR Document 80 Filed 04/04/19 Page 1 of 2 Page ID #:1710




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13                             UNITED STATES DISTRICT COURT
14           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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        SECURITIES AND EXCHANGE                 Case No. CV 18-4315 DSF (JPRx)
17      COMMISSION,
                                                AMENDED ORDER PARTIALLY
18                     Plaintiff,               GRANTING FIRST INTERIM FEE
19                                              APPLICATION OF HOLLAND &
                vs.                             KNIGHT LLP, AS COUNSEL TO
20                                              RECEIVER, FOR ALLOWANCE OF
        TITANIUM BLOCKCHAIN                     COMPENSATION AND
21      INFRASTRUCTURE SERVICES,                REIMBURSEMENT OF EXPENSES
        INC.; EHI INTERNETWORK AND
22      SYSTEMS MANAGEMENT, INC.                Hearing Date: April 1, 2019
23      aka EHI-INSM, INC.; and MICHAEL
        ALAN STOLLERY aka MICHAEL
24      STOLLAIRE,
25                     Defendants.
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        #66780660_v2
     Case 2:18-cv-04315-DSF-JPR Document 80 Filed 04/04/19 Page 2 of 2 Page ID #:1711




1             The First Interim Fee Application of Holland & Knight LLP, as Counsel to
2      Receiver, for Allowance of Compensation and Reimbursement of Expenses (the
3      “Application” filed by Holland & Knight LLP (“H&K”), counsel to Josias Dewey, as
4      Court-appointed Receiver (the “Receiver”) for the estates of Defendant Titanium
5      Blockchain Infrastructure Services, Inc. and its subsidiaries and/or affiliates (collectively,
6      the “Receivership Entities”), came on for hearing on Monday, April 1, 2019. Appearances
7      were as noted on the record.
8             The Court having received and read the Application, including any supporting
9      declarations filed therewith and objections filed thereto, and being so advised in the matter
10     and finding good cause, orders as follows:
11        ● The Application of H&K is partially granted. Specifically, H&K’s fees and
12            expenses for the First Application Period are allowed and approved, on an
13            interim basis, in the amounts of $52,828.49 for attorneys’ fees (as incurred by
14            H&K) and $66,451.25 for expenses (which reflects the amount invoiced for
15            forensic services rendered by Kroll Cyber Security), which totals $119,279.74.
16        ● H&K is directed to submit supplemental evidence in support of the remainder
17            of expenses requested for the timeframe covered by the Application.
18        ● The Receiver is authorized and directed at this time to pay H&K $119,279.74
19            in fees and expenses from assets of the Receivership Entities.
20
21        IT IS SO ORDERED.
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23      Date: April 4, 2019                               ___________________________
24                                                        Dale S. Fischer
                                                          United States District Judge
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